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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-0067V
                                      Filed: May 23, 2016
                                        UNPUBLISHED

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BARBARA STEELE,                         *
                                        *
                    Petitioner,         *      Ruling on Entitlement; Concession;
v.                                      *      Tetanus-Diphtheria-Acellular Pertussis
                                        *      (“Tdap”) and Influenza (“Flu”) Vaccines;
SECRETARY OF HEALTH                     *      Shoulder Injury Related to Vaccine
AND HUMAN SERVICES,                     *      Administration (“SIRVA”); Special
                                        *      Processing Unit (“SPU”)
                    Respondent.         *
                                        *
****************************
Brian Lee Burchett, Burchett Law Firm, San Diego, CA, for petitioner.
Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On January 12, 2016, Barbara Steele (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that as a result of receiving
the Tetanus-diphtheria-acellular pertussis (“Tdap”) and influenza (“flu”) vaccines on
November 29, 2012, she suffered a shoulder injury. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On May 23, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent states that this case is appropriate for compensation
under the terms of the Act. Id. Respondent further agrees that petitioner’s injury is
consistent with a shoulder injury related to vaccine administration (SIRVA) and that she
has satisfied all legal prerequisites for compensation under the Act. Id.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master




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